       Case 2:21-mc-01230-JFC Document 2881 Filed 07/17/24 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                           )
IN RE: PHILIPS RECALLED CPAP,              )
BI-LEVEL PAP, AND MECHANICAL               )
VENTILATOR PRODUCTS                        )       Master Docket: Misc. No. 21-1230
LITIGATION                                 )
                                           )
                                           )       MDL No. 3014
This Document Relates to:                  )
                                           )
Fuentes v. Philips RS North Amer. LLC,     )
2:22-cv-00130,                             )
                                           )
King v. Koninklijke Philips N.V., 2:23-    )
cv-02040, and                              )
                                           )
Spiekermier v. Koninklijke Philips N.V.,   )
2:22-cv-01406.                             )
                                           )
                                           )
                                           )

                                    ORDER OF COURT


       AND NOW this 17th day of July, 2024, for the reasons set forth in the foregoing

memorandum opinion, it is hereby ORDERED:

       1. Fuentes’ motion (ECF No. 2780) is denied;

       2. King’s omnibus motion (ECF No. 2796) is denied as moot; and

       3. Spiekermeier’s objection (ECF No. 2804) is overruled.


                                                   BY THE COURT:


                                                   /s/ Joy Flowers Conti
                                                   Joy Flowers Conti
                                                   Senior United States District Court Judge
